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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 15-cv-60082-DIMITROULEAS/SNOW

   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,
   v.

   FREDERIC ELM f/k/a FREDERIC ELMALEH,
   et al.,

          Defendants,
   and

   AMANDA ELM f/k/a AMANDA ELMALEH,

         Relief Defendant.
   ______________________________________________ )

           RECEIVER’S FOURTH INTERIM APPLICATION FOR ALLOWANCE
             AND PAYMENT OF FEES AND EXPENSES INCURRED BY THE
                       RECEIVER AND RETAINED COUNSEL

          Receiver Grisel Alonso, not individually, but solely in her capacity as Court-appointed

   receiver (“Receiver”) for Elm Tree Investment Advisors, LLC, Elm Tree Investment Fund LP,

   Elm Tree "e"Conomy Fund LP, and Elm Tree Motion Opportunity LP (collectively, the

   "Receivership Entities"), files her Fourth Interim Application for Allowance and Payment of

   Fees and Expenses Incurred by the Receiver and Retained Counsel, and requests that this Court

   enter an Order authorizing her to make payments for certain professional services and expenses

   incurred during the period of January 1, 2016 through June 30, 2016 (“Application Period”).

          The Receiver respectfully requests that the Court authorize the Receiver to pay: (a)

   Michael Moecker and Associates, Inc. ("MMA") for reasonable fees and costs; and (b) Broad

   and Cassel ("B&C"), as Receiver’s primary counsel, for reasonable attorneys’ fees and costs.




                                             BROAD and CASSEL
                 One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400
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           The Securities and Exchange Commission has reviewed this Fourth Interim Application

   and does not object to the relief requested herein.

   I.      RETENTION OF RECEIVER

           A.       The SEC’s Motion

           On January 15, 2015, the SEC filed its Complaint for Injunctive and Other Relief (D.E.

   1) and Emergency Motion to Appoint for Appointment of Receiver (D.E. 8). In the Complaint,

   the SEC seeks to temporarily and permanently enjoin Defendant Frederic Elm f/k/a Frederic

   Elmaleh ("Defendant Elm") and the Receivership Entities from violating the antifraud and

   registration provisions of federal securities laws. (D.E. 1 at 1). The Commission also seeks to

   protect and preserve millions of dollars of investor assets at risk. (Id. at 2).

           B.       The Court Appoints Grisel Alonso, Esq. as Receiver

           On January 16, 2015, the Court entered an order appointing Ms. Alonso as the Receiver

   (the “Receivership Order”). (D.E. 13). The Order placed the Receiver in charge of the

   Receivership Entities. (Id. at 2). The Receivership Order authorized and directed the Receiver to,

   among other things:

                •   take immediate possession of all property, assets and estates of every kind of the
                    Receivership Entities;

                •   investigate the manner in which the affairs of the Receivership Entities were
                    conducted;

                •   employ legal counsel and other professionals as the Receiver deems necessary
                    and to take possession of the assets and business and to fix and pay their
                    reasonable compensation and reasonable expenses;

                •   engage persons in the Receiver’s discretion to assist the Receiver in carrying out
                    the Receiver’s duties and responsibilities;

                •   defend, compromise or settle legal actions in which the Receivership Entities or
                    the Receiver is a party;
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               •   assume control of all of the Receivership Entities’ financial accounts, as
                   necessary;

               •   make payments and disbursements from the funds and assets taken into control as
                   necessary in discharging the Receiver’s duties; and

               •   have access to and review all mail of the Receivership Entities, Defendant Elm,
                   and Relief Defendant Amanda Elm f/k/a Amanda Elmaleh.

   (D.E. 13 at 2-3).

   II.    REQUEST FOR FEES AND EXPENSES

          The Receiver respectfully requests an award for all legal and professional fees and the

   reimbursement of certain expenses incurred on behalf of the Receiver for services rendered

   during the Application Period. These amounts total $118,411.46 in the aggregate (“Total

   Award”). The Total Award is comprised of: (a) $69,886.22 in fees and costs for the Receiver and

   professionals at MMA; and (b) $48,525.24 in legal fees and costs for B&C.

          Significantly, the Receiver and her professionals worked at deeply discounted rates in

   performing their functions. Moreover, the Receiver and her counsel further reduced the final

   total cost by writing off various fees incurred for work performed and not charging for other

   services.

          This request is the Receiver’s fourth application to the Court for compensation and

   reimbursement of expenses for services rendered on behalf of the Receiver. The Receiver filed

   her First Interim Application for Allowance and Payment of Fees and Expenses Incurred by the

   Receiver and Retained Counsel (the "First Interim Application") on June 30, 2015 (D.E. 102),

   and a Supplement to the First Interim Application on August 10, 2015 (D.E. 112).                               The

   Magistrate Judge entered a Report and Recommendation on August 19, 2015, recommending

   that the Court approve the First Interim Application (D.E. 113), and the Court entered an Order
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   Adopting Report of Magistrate Judge on September 8, 2015. (D.E. 117). The Receiver filed her

   Second Interim Application for Allowance and Payment of Fees and Expenses Incurred by the

   Receiver and Retained Counsel (the "Second Interim Application") on October 30, 2015 (D.E.

   125). The Magistrate Judge entered a Report and Recommendation on November 18, 2015,

   recommending that the Court approve the Second Interim Application (D.E. 129), and the Court

   entered an Order Adopting Report of Magistrate Judge on December 8, 2015. (D.E. 132). The

   Receiver filed her Third Interim Application for Allowance and Payment of Fees and Expenses

   Incurred by the Receiver and Retained Counsel (the "Third Interim Application") on March 29,

   2016. (D.E. 146). The Magistrate Judge entered an Amended Report and Recommendation on

   April 25, 2016, recommending that the Court approve the Third Interim Application (D.E. 157),

   and the Court entered an Order Adopting Report of Magistrate Judge on May 16, 2016. (D.E.

   159).

           No understanding exists between the Receiver and any other person for the sharing of

   compensation sought by this Receiver, except among the firms retained by the Receiver.

           As demonstrative of the efforts performed on behalf of the Receiver, the Receiver has

   attached exhibits to this Application consisting of:

                  Exhibit 1:         Summary of Professional and Paraprofessional Time;

                  Exhibit 2:         Individualized and Detailed Descriptions of the Services Rendered
                                     and Expenses Incurred by MMA;

                  Exhibit 3:         Invoices and receipts for Expenses of MMA; and

                  Exhibit 4:         Individualized and Detailed Descriptions of the Services
                                     Rendered and Expenses Incurred by B&C.

           Exhibit 1 contains an aggregate summary of all hours accumulated by the Receiver and

   all counsel, paralegals, professionals, and paraprofessionals who have been involved and

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   provided services for the Receiver during the course of the Application Period segregated by

   each firm performing services. The total amount represents the amount of time expended by each

   attorney, paralegal, and professional multiplied by the applicable hourly rate.

           Exhibit 2 reflects individualized and detailed descriptions of the daily services rendered

   and hours expended by the Receiver and her professionals and paraprofessionals at MMA who

   have been involved and provided services for the Receiver during the course of the Application

   Period and includes an itemization of the actual and necessary out-of-pocket expenses incurred

   by MMA. Exhibit 2 is based on, among other information, the contemporaneous daily time

   records maintained by the Receiver and her professionals and paraprofessionals at MMA who

   rendered services in this case. These time records have been reviewed and approved by the

   Receiver, and, based on the complexity of the case, the Receiver respectfully submits that the

   requested compensation is reasonable.1




   1
            The time records for the Receiver and the Receiver's counsel at B&C showing the detailed descriptions of
   the services rendered are categorized with the following codes:

   Legal Activities
   AAR – Asset Analysis and Recovery
   ADN – Asset Disposition
   BO – Business Operations
   CA – Case Administration
   CLA – Claims Administration and Objections
   EMP – Employee Benefits/Pensions

   Financial Activities
   AA – Accounting/Auditing
   BA – Business Analysis
   CF – Corporate Finance
   DA – Data Analysis
   SR – Status Reports
   LC – Litigation Consulting
   FA – Forensic Accounting
   TI – Tax Issues
   VAL – Valuation

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           Exhibit 3 contains copies of the invoices and receipts for the expenses incurred and

   disbursements made by the Receiver during the course of the Application Period. The expenses

   and disbursements summarized in Exhibit 3 are those which the Receiver and MMA would

   typically invoice to their clients.

           Exhibit 4 contains an individualized and detailed description of the daily services

   rendered and the hours expended by the various attorneys, paralegals, and professionals at B&C

   employed on behalf of the Receiver in this case. Exhibit 4 also contains a detailed schedule

   which lists the expenses incurred and disbursements made by B&C for which the Receiver seeks

   funds for reimbursement. Exhibit 4 is based on, among other information, the contemporaneous

   daily time records maintained by the attorneys, paralegals, and professionals at B&C who

   rendered services in this case. These time records have been reviewed and approved by the

   Receiver, and, based on the complexity of the case, the Receiver respectfully submits that the

   requested compensation is reasonable.

   III.    MEMORANDUM OF LAW

           Under governing law, following a determination that services were rendered and costs

   expended in furtherance of the Receivership, the Court may award compensation for those fees

   and costs. When determining an award of attorneys’ fees incurred during a receivership, the

   Court should give consideration to the factors for compensation that the Eleventh Circuit

   articulated in In re Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th

   Cir. 1988): (1) the time and labor required; (2) the novelty and difficulty of the question

   involved; (3) the skill requisite to perform the legal service properly; (4) the likelihood, if

   apparent to the client, that the acceptance of the particular employment will preclude other

   employment by the lawyer; (5) the fee customarily charged in the locality for similar legal

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   services; (6) whether the fee is fixed or contingent; (7) the time limitations imposed by the client

   or by the circumstances; (8) the amount involved and the results obtained; (9) the experience,

   reputation, and ability of the lawyer or lawyers performing the services; (10) the “undesirability”

   of the case; (11) the nature and length of the professional relationship with the client; and (12)

   any awards in similar cases. See also Sec. & Exch. Comm'n v. Elliot, 953 F. 2d 1560, 1577 (11th

   Cir. 1992). The Receiver respectfully submits that her request for fees for payment of her

   attorneys and other professionals meets the criteria for this interim compensation.

          In this case, the Receivership Order requires the Receiver, among other things, to take

   immediate possession of all property, assets and estates of the Receivership Entities; investigate

   the manner in which the affairs of the Receivership Entities were conducted; and assume control

   of all of the Receivership Entities’ financial accounts, as necessary. (D.E. 13 at 2-3). The

   Receivership Order allows the Receiver to appoint “one or more special agents, employ legal

   counsel, actuaries, accountants, clerks, consultants and assistants as the Receiver deems

   necessary and to fix and pay their reasonable compensation and reasonable expenses, as well as

   all reasonable expenses of taking possession of the assets and business….” (Id. at 3). The Court

   further authorized payment of these professionals from the funds held by the Receivership. (Id.).

          The Receiver’s attorneys, paralegals, and advisors have incurred reasonable fees and costs

   consistent with the Court’s Orders, and payment is appropriate and warranted in consideration of the

   Eleventh Circuit multi-factor test, as follows: The Receiver and the Receiver’s attorneys have

   expended a considerable amount of time and effort in order to perform the extensive work necessary

   to perform the tasks set forth in this Court’s Receivership Order. (Factor 1). There were difficulties

   determining the interrelationship of the Defendants’ related entities and certain recipients of funds,

   including the transfers of funds from Receivership Entities to third parties for which there are little

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   to no supporting documents providing a basis for the transfers, which required analysis and

   discovery by the Receiver and her counsel (Factors 2 and 3). The Receiver and her counsel have

   engaged in extensive fact-finding and legal analysis in light of the complex issues raised by the

   Receivership, interested parties, and potential fraudulent transferees, limiting their ability to perform

   other, significant work due to the demands of this case on their time (Factor 4). Moreover, the

   Receiver and the law firm retained by the Receiver agreed to work for significantly reduced rates to

   maximize the amount of funds ultimately to be distributed to investors (Factor 5). Accordingly, they

   have taken a substantial financial risk, and failure to recover their fees would place a tremendous

   burden on their practices (Factor 6).

           Further, managing the Receivership and the attendant litigation presented numerous,

   complex issues, and the Receiver and her retained counsel have spent a great deal of time and effort

   trying to obtain information about the Receivership Entities and their relationship with others

   (Factors 2, 3, 7). The Receiver’s tasks were made more challenging and complicated because

   Defendant Elm and Relief Defendant Amanda Elm have taken the Fifth Amendment and have

   refused to provide financial and accounting information to the Receiver. (Id.). In addition, many of

   the third parties which received funds from Receivership Entities have little to no documents

   relating to the transfers, and the Receiver sought deposition testimony relating to those transfers in

   connection with the analysis of potential claw-back actions.

           In connection with her duties to marshal and liquidate the assets of the Receivership during

   the Application Period, the Receiver gathered information necessary to file (and did file) a Motion

   to Employ Legal Counsel (D.E. 132), a Motion to Approve Sale of Personal Property (Computer

   Equipment and Safe) (D.E. 143), and the Motion for Approval of Claims Process (D.E. 148). In

   addition, the Receiver: (i) conducted extensive discovery, including the issuance of numerous

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   Subpoenas Duces Tecum to third parties which received funds from Receivership Entities and

   took several depositions of such third parties in order to analyze potential claw-back actions; and

   (ii) the Receiver engaged in protracted negotiations and entered into settlements with Michael

   Coraggio (D.E. 141), the Las Olas Chabad Jewish Center (D.E. 161), and Ganesh Murthi (D.E.

   163).

           The foregoing challenges, the significant responsibilities of the Receiver, the complex

   factual and legal issues and the amount of money at stake, all necessitated the retention of the

   experienced, skilled, and reputable professionals at issue. (Factors 2, 3, 8, 9). The results obtained

   have been significant. (Factor 8). The Receiver and her retained counsel gathered a great deal of

   information that assisted in marshalling assets, obtained substantial discovery needed for the

   recovery of funds, obtained turnover of valuable assets, and also made great strides toward

   determinations necessary to ensure a proper claims process (Factor 8).

           Among other things, during the Application Period the Receiver initiated litigation against

   Aerofund Financial Inc. ("Aerofund"), an entity that received funds from the Receivership entities,

   responded to Aerofund's motion to dismiss and/or transfer venue, filed a motion to retain Canadian

   counsel to assist in pursuing funds transferred to Canada, developed a claims process and requested

   and received permission to initiate such process, reviewed voluminous claim information submitted

   by Receivership Entity investors and others, sold computer equipment and a safe belonging to

   Frederic Elm and Relief Defendant Amanda Elm (collectively, the "Elms"), which were purchased

   with Receivership funds; the Receiver negotiated settlement agreements and obtained funds from

   third parties which received funds from Receivership Entities; and the Receiver has identified assets

   transferred to third parties by Receivership Entities which the Receiver is analyzing for potential



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    claw-back actions. In view of these circumstances, this request for fees and expenses, which are the

    result of discounted and reduced rates, is appropriate and warranted (Factor 12).

           In Hensley v. Eckerhart, 461 U.S. 424, 433 (1983), the United States Supreme Court

    identified the "starting point for determining a reasonable fee is the number of hours reasonable

    expended on the litigation multiplied by a reasonable hourly rate." This approach, known as the

    "lodestar" method, has achieved dominance in the federal courts after Hensely. Perdue v. Kenny

    A., 559 U.S. 542, 551 (2010).

           The Receivership Order entered on January 16, 2015 (D.E. 13) provides that the

    "Receiver, and any counsel whom the Receiver may select, are entitled to reasonable

    compensation from the assets now held by or in the possession or control of or which may be

    received by ETIA and the Elm Tree Funds; said amount or amounts of compensation shall be

    commensurate with their duties and obligations under the circumstances, subject to approval of

    the Court." (D.E. 13 ¶ 14). The Receivership Order also provides that the Receiver may

    "[m]ake or authorize such payments and disbursements from the funds and assets taken into

    control, or thereafter received by the Receiver, and incur, or authorize the incurrence of, such

    expenses and make, or authorize the making of, such agreements as may be reasonable,

    necessary, and advisable in discharging the Receiver's duties". (D.E. 13 ¶ 8).

           MMA's invoice for professional services is attached as Exhibit 2 to this Fourth Interim

    Application. The invoice summarizes the lodestar amount from January 1, 2016 through June

    30, 2016, and contains detailed descriptions of the work performed by each timekeeper, by date,

    the amount of time worked, and the lodestar amount for the day by timekeeper. Page 24 of the

    Exhibit 2 contains a summary of the hours worked by each timekeeper. Pages 23-24 of the

    Exhibit 2 contain descriptions for all incurred and claimed expenses by MMA. Although the

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    Receivership Order specifically provides for payment of such expenses, the Receiver is seeking

    approval for payment of expenses of MMA in the amount of $2,910.72. Exhibit 3 includes the

    corresponding invoices and receipts available.

           The identity, experience, and qualifications for each timekeeper at MMA for whom fees

    are sought are as follows:

               a. Grisel Alonso: Ms. Alonso has over 28 years of experience in complex civil

                   financial litigation, specializing in insolvency, liquidation, and related litigation.

                   She was admitted to practice law in Florida in 1987 and is a former Assistant

                   United States Attorney in the Southern District of Florida in the Civil Division.

                   She has been the Director of Receivership and Fiduciary Services at MMA since

                   2014 and acts as a court-appointed fiduciary in federal and state courts and

                   manages and oversees the case management of the MMA's fiduciary cases.

               b. Dick Haslam: Mr. Haslam has been a case administrator at MMA for over five

                   years and has experience in supporting MMA's court-appointed fiduciaries with

                   asset analysis and recovery, asset disposition, business operations, case

                   administration, securing records, data analysis, and identifying potential claw-

                   backs and causes of action for the fiduciaries to pursue.

               c. William Straka: Mr. Straka has been a case associate with MMA for over three

                   years and has experience in providing support in the areas of asset recovery,

                   logistics, and chain of custody custodianship.

               d. Nadira Joseph: Ms. Joseph has been office manager with MMA for ten years and

                   has experience in the area of website creation and maintenance for receivership

                   cases.

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               e. Norma Castellon: Ms. Castellon has over ten years of experience at MMA as a

                   case assistant in the areas of asset identification research, mail processing and

                   maintenance of mail logs.

           MMA has devoted 274.9 hours to this Receivership action between January 1, 2016 and

    June 30, 2016 for which the Receiver seeks compensation. A summary of each timekeeper's

    rates, hours, and lodestar is reflected in the table below:

    Name                              Rate                        Hours                            Lodestar
    Grisel Alonso                     $295.00                     144.90                                          $42,745.50
    Dick Haslam                       $225.00                     90.70                                           $20,407.50
    William Straka                    $125.00                     17.50                                            $2,187.50
    Nadira Joseph                     $75.00                      10.80                                              $810.00
    Norma Castellon                   $75.00                      11.00                                              $825.00
    TOTALS                                                        274.90                                          $66,975.50


           A detailed description of the tasks performed by each timekeeper at MMA for whom the

    Receiver is seeking payment can be found on Exhibit 2.                            A summary of those tasks, by

    timekeeper, is as follows: (1) Grisel Alonso: case administration, asset analysis and recovery,

    asset disposition, analysis of potential claw-back actions, preparation of reports to the Court and

    SEC, noticing investors and handling investor inquiries, conferences with SEC and defense

    counsel and counsel for third parties, and legal liaison; (2) Dick Haslam: case administration,

    asset investigation, asset analysis and recovery, business operations, identification of potential

    claw-back targets, and data analysis; (3) William Straka: case administration, logistics, and chain

    of custody custodian; (4) Nadira Joseph: case administration, receivership case website creation

    and maintenance; and (5) Norma Castellon: asset identification research, mail processing and

    maintenance of mail log.




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           The Receiver respectfully submits that the hours and discounted rates billed for the

    timekeepers at MMA are reasonable. The Receiver has discounted her regular hourly rate of

    $350.00 to $295.00 and the regular hourly rates of her staff at MMA to $75.00 to $225.00.

           B&C's Statement of Account is attached as Exhibit 4 to this Fourth Interim Application.

    The Statement of Account summarizes the lodestar amount and the total expenses incurred from

    January 1, 2016 through June 30, 2016. Pages 1-28 of the Statement of Account contain detailed

    descriptions of the work performed by B&C's timekeepers, by date, the amount of time worked,

    and the lodestar amount for the day by timekeeper. Page 28 of the Statement of Account contains

    a summary of the hours worked by lawyer or paralegal. Pages 28-31 of the Statement of

    Account itemize the expenses incurred by B&C in the amount of $1,977.74.

           The identity, experience, and qualifications for each timekeeper at B&C for whom fees

    are sought are as follows:

    •   Daniel S. Newman: Mr. Newman is a partner at B&C who was admitted to practice law in

        Florida and New York in 1992. He is a member of the firm's Commercial Litigation,

        Construction Law and Litigation, Corporate and Securities, and White Collar Defense and

        Compliance Practice Groups. Mr. Newman has extensive experience in complex, business,

        securities and construction litigation and has served as counsel to court-appointed Receivers

        and served as a court-appointed Receiver, including in actions brought by the United States

        Securities and Exchange Commission. He began his career as an attorney with the SEC's

        New York Regional Office, in the Division of Enforcement.

    •   Amanda Star Frazer: Ms. Frazer is Senior Counsel at B&C. She was admitted to practice law

        in Florida in 2007, the District of Columbia in 2014, and New York in 2015. She is a



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        member of the firm's Commercial Litigation and Real Estate Litigation Practice Groups and

        specializes in commercial litigation, real estate litigation and fraud.

    •   Trish Anzalone: Ms. Anzalone is a paralegal at B&C. She has been with the firm since 1999

        and has extensive experience in administration of receivership cases, preparation of

        discovery, and document production, collection and review.

           B&C has devoted 151.9 hours to this Receivership action from January 1, 2016 through

    June 30, 2016, for which the Receiver seeks compensation. A summary of each timekeeper's

    rates, hours, and lodestar is reflected in the table below:

    Name                              Rate                        Hours                            Lodestar
    Daniel S. Newman                  $325.00                     66.8                                            $21,710.00
    Amanda Star Frazer                $325.00                     71.0                                            $23,075.00
    Trish Anzalone                    $125.00                     13.0                                             $1,625.00
    Daniel Hentschel                  $125.00                     1.1                                                $137.50
    TOTALS                                                        151.9                                           $46,547.50

           A detailed description of the tasks performed by each timekeeper at B&C for whom the

    Receiver is seeking payment can be found on Exhibit 4. A summary of those tasks is as follow:

    (1) Daniel S. Newman: analysis of legal issues and strategy, asset investigation, preparation and

    review of litigation materials including motions, discovery materials, and other related filings;

    representation of Receiver at depositions; conferences with SEC and defense counsel and

    counsel for third parties, and analysis of potential claw-back and recovery actions; (2) Amanda

    Star Frazer: analysis of legal issues, asset investigation, preparation and review of litigation

    materials, conferences with SEC and defense counsel and counsel for third parties, and analysis

    of potential claw-back and recovery actions; (3) Trish Anzalone: preparation of discovery and

    analysis, collection and maintenance of document production.



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            The Receiver respectfully submits that the hours and discounted rates billed for the

    timekeepers at B&C are reasonable. B&C has discounted its regular rates for this matter as

    follows: Daniel Newman discounted his regular rate of $530.00, when this action began, to

    $325.00, and Amanda Star Frazer discounted her regular rate of $340.00, when this action began,

    to $325.00.2

            Further, the Court's Order of January 22, 2015 (D.E. 16) granting the Receiver's Motion

    to Employ Legal Counsel (D.E. 15) states that the "Receiver is authorized to retain the law firm

    of Broad and Cassel to serve as legal counsel to the Receiver, at the rates set forth in the

    Motion." (D.E. 16 at p. 2). The Receiver's Motion to Employ Legal Counsel states that partners

    and of-counsel of B&C will be billed at the discounted hourly rate of $325.00, associates would

    be capped at $275.00, and paralegals will be billed at $125.00. (D.E. 15 at pp. 3-4).

            WHEREFORE, the Receiver, Grisel Alonso, respectfully requests that this Court enter an

    Order authorizing the payment of: (1) $69,886.22 in fees and costs to the Receiver and her

    professionals at Michael Moecker and Associates, Inc.; (2) $48,525.24 in legal fees and costs to

    Broad and Cassel; and (3) authorizing the Receiver to distribute from the Receivership Estate funds

    to its retained counsel and professionals.




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             Mr. Newman and Ms. Frazer's standard hourly rates have since risen, but they maintain the rate of $325 for
    services provided to the Receiver in this action.

                                                 BROAD and CASSEL
                     One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


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                                         CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 4, 2016, a true and correct copy of the

    foregoing was served via electronic transmission on all counsel or parties of record on the

    Service List below.



                                                          Respectfully submitted,

                                                          BROAD AND CASSEL
                                                          Attorneys for Receiver
                                                          2 South Biscayne Boulevard, 21st Floor
                                                          Miami, FL 33131
                                                          Tel: (813) 225-3011
                                                          Fax: (813) 204-2137

                                                          By:        s/Daniel S. Newman
                                                                     Daniel S. Newman, P.A.
                                                                     Florida Bar No. 0962767
                                                                     dnewman@broadandcassel.com
                                                                     Christopher Cavallo, Esq.
                                                                     Florida Bar No. 0092305
                                                                     ccavallo@broadandcassel.com




                                              BROAD and CASSEL
                  One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


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                                                   SERVICE LIST

    Patrick R. Costello, Esq.                                  David R. Chase, Esq.
    Katharine Zoladz, Esq.                                     david@davidchaselaw.com
    costellop@sec.gov                                          David R. Chase, P.A.
    zoladzK@sec.gov                                            1700 East Las Olas Boulevard
    U.S. Securities and Exchange Commission                    Suite 305
    801 Brickell Avenue                                        Fort Lauderdale, FL 33301
    Suite 1800                                                 Counsel for Defendant Frederic Elm and
    Miami, FL 33131                                            Relief Defendant Amanda Elm
    Counsel for U.S. Securities and Exchange
    Commission

    Christopher Bruno, Esq.                                    Grisel Alonso, Esq.
    cbruno@brunodegenhardt.com                                 galonso@moecker.com
    Bruno & Degenhardt                                         Michael Moecker & Associates, Inc.
    10615 Judicial Drive                                       1883 Marina Mile Blvd., Suite 106
    Suite 703                                                  Fort Lauderdale, FL 33315
    Fairfax, VA 22030                                          Receiver
    Counsel for Defendant Frederic Elm and Relief
    Defendant Amanda Elm




                                             BROAD and CASSEL
                 One Biscayne Tower, 21st Floor 2 South Biscayne Blvd. Miami, Florida 33131-1811 305.373.9400


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